| UNITED STATES DISTRICT COURT FILED ENTERED

DISTRICT OF MARYLAND "LOGGED st RECEIVED
ELIZABETH MCMILLAN-MCCARTNEY, WAR 21 2019
, AT BALTIMORE
CLERK, U.S. DISTRICT COURT
DISTRICT OF MARYLAND
BY DEPUTY
Plaintiff,
Vv. Civil Action No. 1:£8-cv-93331
CALDWELL MCMILLAN, JR.,
Defendant.

DEFENDANT’S MOTION TO DISMISS PLAINTIFF’S COMPLAINT

COMES THIS DAY, Mr. Caldwell McMillan, Ir, this Court’s Defendant in the
above-styled case, proceeding pro se, who hereby files a timely Motion to Dismiss pursuant Rule
12, Fed.R.Civ.P., premised on colorable, good-faith arguments, that are not frivolous or brought
for any improper purpose on the grounds that the Plaintiff is estopped from prosecuting this action
due to the applicable statutes of limitations, and for failing to state a claim upon which relief can
be granted, along with the Doctrines of Collateral Estoppie and Res Judicata, and for lack of

subject matter jurisdiction.
In Support hereof, I respectfully represent as follows:

INTRODUCTION

This is a lawsuit filed against me by my sister, seeking myunctive and monetary relief based
on an alleged agreement the Plaintiff falsely and frivolously claims we entered “in or around
1990.” Complaint at 3. I hereby deny and dispute the material allegation of the Plaintiff that I

entered into any verbal agreement with the Plaintiff withstanding “any work she performed either
on behalf of Sylmac, Inc., or to aid the Defendant in the administration of their father’s Estate and
to reimburse her for expenses.” /d. In addition, whether there existed any such agreement is
irrelevant because the Plaintiff's claims of breach of contract are barred by the applicable statute
of limitation, to-wit: Md. COMMERCIAL LAW Code Ann. § 22-701 provides a three-year statute
of limitations for breach of contract claims. The Plaintiff is 20+ years too late.

THIS COURT DOES NOT HAVE DIVERSTIY JURISIDCTION BECAUSE ALL
PARTIES TO THIS ACTION ARE ALL RESIDENTS OF THE STATE OF MARYLAND

“The term “jurisdiction” means "the courts’ statutory or constitutional power to adjudicate
the case.” Steel Co. v. Citizens for Better Environment, 523 U.S. 83, 89 (1998). Subject-matter
jurisdiction, because it involves a court's power to hear a case, can never be forfeited or waived,
and can be raised in any court, at any time. See US v. Cotton, 535 US 625, 630 (2002).

“No judgment of a court is due process of law, if rendered without jurisdiction in the court,
or without notice to the party.” Scott v. McNeal, 154 U.S. 34, 46 (1893).

“Where a court has jurisdiction, it has a right to decide every question which occurs in the
cause, and whether its decision be correct or otherwise, its judgment, until reversed, is regarded as
binding in every other court. But if it act without authority, its judgments and orders are nullities;
they are not voidable, but simply void, and form no bar to a recovery sought, even prior to a
reversal, in opposition to them; they constitute no justification, and all persons concerned in
executing such judgments, or sentences, are considered in law as trespassers.” Williamson v. Berry,
49 US 495, 540-41 (1850). (emphasis added).

lf a plaintiff sues in federal court, the plaintiff must include in the complaint “a short and
plain statement of the grounds for the court’s jurisdiction ....” Fed. R. Civ. P. 8(a)(1).

A federal district court has original “diversity” jurisdiction where the suit is between
citizens of different states and the amount in controversy exceeds $75,000, exclusive of costs and

interest. 28 U.S.C. 1332(a).
“[T]he essential elements of diversity of citizenship jurisdiction must be alleged in any
pleading asserting a claim for relief, and that proposition is now prescribed in Federal Rule of Civil
Procedure 8(a)(1) and enforced by the courts.” 13E Wright & Miller § 3602.1, pp. 77-79 (citations
omitted).

“Tt is also well established that when the question is subject matter jurisdiction, the court
is permitted to rely on information beyond the face of the complaint.” St. Paul Fire and Marine —
Ins. Co. v. Universal Builders Supply, 409 F.3d 73 (2d Cir. 2005) (citations omitted).
| Indeed, the first thing a federal judge is required to do when a complaint is filed is to review
the court’s jurisdiction aud to raise the issue of the propriety of federal jurisdiction sua sponte.
See, e.g., Rickets v Midwest Nat'l Bank, 874 F.2d 1177, 1182 (7th Cir. 1989). In order to invoke
“diversity jurisdiction” for suits between citizens of different states, the parties must demonstrate
that there is “complete diversity” of plaintiffs and defendants — meaning that every plaintiff must
be a citizen of a different state from every defendant.

The purpose of the ultimate interest’s test is “to ensure that there is an actual, substantial
controversy between citizens of different states, all of whom on one side of the controversy are
citizens of different states from all parties on the other side.” 13E Wright & Miller § 3607, p. 313
(internal quotation omitted).

Plaintiff is a legal resident of the State of Maryland. Plaintiff owns residential real estate
in the State of Maryland. Plaintiff pay taxes to Anne Arundel County, Maryland, and the State of
Maryland for her property.

Accepting Plaintiff's well plead allegations as true on their face, because Plaintiff alleges
that the Defendant and Plaintiff are clearly citizens of the State of Maryland, this Court must

dismiss the Complaint filed by the Plaintiff in this case for want subject matter jurisdiction.
PLAINTIFF’S LACK OF STANDING DEPRIVES THIS COURT OF
SUBJECT MATTER JURISDICTON

“The term "jurisdiction" means [] "the courts’ statutory or constitutional power to
adjudicate the case.” Steel Co. v. Citizens for Better Environment, 523 U. S. 83, 89 (1998)
Subject-matter jurisdiction, because it involves a court's power to hear a case, can never be
forfeited or waived, and can be raised in any court, at any time. See US v. Cotton, 535 US 625,

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“Where a court has jurisdiction, it has a right to decide every question which occurs in the
cause, and whether its decision be correct or otherwise, its judgment, until reversed, is regarded as
binding in every other court. But if it act without authority, its sudgments and orders are nullities;
they are not voidable, but simply void, and form no bar to a recovery sought, even prior to a
reversal, in opposition to them; they constitute no justification, and all persons concerned in
executing such judgments, or sentences, are considered in law as trespassers. This distinction runs

through all the cases on the subject.” Berry, 49 ULS. at 541.

Because Constitutional-Standing is a mandate of the "case or controversy" requirement in
Article IJ], and prudential considerations of standing, which involve "judicially self-imposed limits
on the exercise of federal jurisdiction ...." Allen v. Wright, 468 U.S. 737, 751, 104 S.Ct. 3315, 82
L.Ed.2d 556 (1984), It is clear that Constitutional-Standing is a jurisdictional prerequisite to
suit. See Steel Co. v. Citizens for a Better Env't, $23 U.S. 83, 101, 118 S.Ct. 1003, 140 L.Ed.2d 210
(1998). |

Because prudential considerations of standing are also generally treated as jurisdictional in
nature, Thompson v. County of Franklin, 15 F.3d 245, 248 (2d Cir.1994), Article If] of the
Constitution permits federal courts to adjudicate only actual cases or controversies. Lewis v.

Continental Bank Corp., 494 U.S. 472, 477 (1990). This means litigants must suffer, or be
threatened with, an actual injury traceable to the defendant’s actions, and that the federal court
must be able to grant effectual relief. See Id. This case-or-controversy requirement must be
satisfied at every stage of judicial proceedings. /d. see also ron Arrow Honor Soc yy. Heckler,
464 U.S. 67, 70 (1983) (per curiam)

When a lawsuit no longer ‘presents a live controversy, the court loses subject matter
jurisdiction and can proceed no further:

Without jurisdiction the court cannot proceed at all in any cause. Jurisdiction is
power to declare the law, and when it ceases to exist, the only function remaining
to the court is that of announcing the fact and dismissing the cause. Stee! Co.,
523 US. at 94 (1998) (quoting Ex parte McCardle, 74 U.S. (7 Wall.) 506, 514
(1868)).

Any private plaintiff in federal or state court bears the burden of demonstrating the
“irreducible constitutional minimum of standing” under Article Ill of the U.S. Constitution—(1)
an injury in fact; (2) caused by the defendant’s conduct; (3) that is redressable by a favorable court
decision. Lujan v. Defs. of Wildlife, 504 U.S. 555, 560-61 (1992). The injury must be “actual or
imminent, not conjectural or hypothetical.” /d. at 560 (internal quotation marks omitted).

The elements of standing “must be supported in the same way as any other matter on which
the plaintiff bears the burden of proof, i.e., with the manner and degree of evidence required at the
successive stages of the litigation.” Lujan, 504 U.S. at 561. Accordingly, “[a}t the pleading stage,
general factual allegations of injury resulting from the defendant’s conduct may suffice,” but “[i]n
response to a summary judgment motion . . . the plaintiff. . . must set forth affidavit or other
evidence specific facts,” and, ultimately, controverted facts “must be supported adequately by the
evidence adduced at trial.” Id. (citations and internal quotation marks omitted). |

“A case is properly dismissed for lack of subject matter jurisdiction under Rule 12(b\(1)
when the district court lacks the statutory or constitutional power to adjudicate it.” Makarova v.

United States, 201 F.3d 110, 113 (2d Cir.2000).
The Constitution limits the judicial power of the federal courts to actual cases and controversies.
U.S. Const. art. HT, § 2, cl. 1. A case or controversy exists only when the party soliciting federal court
jurisdiction (normally, the plaintiff) demonstrates "such a personal stake in the outcome of the controversy
as to assure that concrete adverseness which sharpens the presentation of issues upon which the court so
largely depends." Baker v. Carr, 369 U.S. 186, 204, 82 S.Ct. 691, 7 L.Ed.2d 663 (1962), The standing
inquiry is claim-specific: a plaintiff must have standing to bring each and every claim that she
asserts. Pagan v. Calderon, 448 F.3d 16, 26 (1st Cir.2006).

To satisfy the personal stake requirement, a plaintiff must establish each part of a familiar
triad: injury, causation, and redressability. See Lujan v. Defenders of Wildlife, 504 U.S. 555, 560-
61, 112 S.Ct. 2130, 119 L.Ed.2d 351 (1992). "[E]ach element must be supported in the same way
as any other matter on which the plaintiff bears the burden of proof, i.e., with the manner and
degree of evidence required at the successive stages of the litigation." /d@ at 561, 112 S.Ct.
2130; see Bennett v. Spear, 520 U.S. 154, 167-68, 117 $.Ct. 1154, 137 L.Ed.2d 281 (1997).

Maryland Contract Law is located in Title 2 Sales Md. Commercial Law Code Ann.
§ 2-206 (2012): § 2-206. In the Plaintiffs Complaint, she makes only bare-bone, conclusory
allegation that the parties hereto “agreed to [] be responsible for an equal share of Sylmac, Inc’s
debt...” /d. at 5. However, reviewing the Compiaint in the light most favorable to the Plaintiff and
accepting her allegations as true, no facts are asserted, plausible on their face, that there was an
offer, acceptance, consideration or mutual assent to any terms of these purported contracts between
the parties. I hereby deny that any verbal offer was made to me by the Plaintiff relevant to the
allegations in the Complaint. 1 did not accept any verbal offer made by the Plaintiff as alleged in
the Complaint. I have never received any consideration whatsoever from the Plaintiffs alleged
“agreement” claimed in the Complaint.

Because there are no facts that can establish the existence of a valid or enforcable contract

between the parties, then, there can be no breach of contract and Plaintiff's claims must be
dismissed for failure to state a claim upon which relief can be granted for lack of standing which
deprives the Court Subject Matter Jurisdiction.
PLAINTIFF’S CLAIMS ARE BARRED BY THE STATUTES OF LIMITATIONS

This Court should hold that Plaintiff's complaint is baseless because, on its face, the
complaint demonstrates that it was not timely filed, as it was not filed within three years after the
claims accrued. See Todd v. Baskerville, 712 F.2d 70, 74 (4th Cir.1983) (affirming district court's
dismissal under § 1915(d) of actions which appeared on their face to be barred by statute of
limitations.

Under federal law a cause of actton accrues when the plaintiff possesses sufficient facts
about the harm done to him that reasonable inquiry will reveal his cause of action. See United

States v. Kubrick, 444 U.S. 111, 122-24, 100 S.Ct. 352, 359-60, 62 L.Ed.2d 259 (1979).

PLAINTIFE’S CLAIMS ARE BARRED BY THE DOCTRINE OF COLLATTERAL
ESTOPPLE AND RES JUDICATA

Collateral estoppel is the principle that a party cannot relitigate particular factual or legal
issues which were litigated and decided in a prior suit involving that party, regardless of whether
the cause of action was the same. Kremer v. Chemical Construction Corp., 456 U.S 461, 466 n.6,
102 S. Ct. 1883 (1982); Latino Officers Ass’n v. City of New York. 253 F. Supp. 2d 771, 782
(S.D.N.Y. 2003); Washington v. Chrans, 769 F. Supp. 1045, 1049 (C.D.IIL 1991).

Res judicata (Latin for “thing decided”) generally means that a person cannot bring a
lawsuit if there has already been a judgment on the merits of the same cause of action by a court
of competent jurisdiction in a prior suit involving the same parties or their privies. See Si. Paul
Fire and Marine Ins. Co. v. Compag Computer Corp., 457 F.3d 766, 770 (8th Cir. 2006); Jones v.

S.E.C., 115F.3d 1173, 1178 (4th Cir. 1997); Fox v. Maulding, 112 F.3d 453, 456 (10th Cir. 997).
This is true even if the first lawsuit was decided in your favor. Murphy v. Jones, 877 F.2d
682, 686 (8th Cir. 1989) (after settlement, cannot bring a second claim arising from the same
transaction or series of transactions); Hunnicutt vy. Armstrong, 305 F. Supp. 2d 175 (D. Conn.
2004), aff'd in part, vacated in part, and remanded on other grounds, 152 Fed. Appx. 34 (2d Cir.
2005) (unpublished). |

Defendant points to Paragraphs 53-55;61-64 of the Complaint, and states that the same facts
relied upon here, have been fully adjudicated, between the same parties, or their privies, upon the
same causes of action in the Orphans’ Court for Anne Arundel County, Maryland, which is a court
of competent jurisdiction. Plaintiff petitioned the court and a decision was rendered. Therefore,
the Plaintiff's claims asserted herein are barred by the doctrine of res judicata and collateral
estopple, jointly and severally. Because these same matters have been decided and any that were
not presented there, could have been litigated in the Orphans’ Court, there exists an absolute bar
the Plaintiff's recovery under the facts relied upon in the Complaint before this Most Honorable
Court. See Sterling v. Local 438, 207 Md. 132, 140-41, 113 A.2d 389, cert. denied, 350 U.S. 875
(1955).

Because Plaintiff admits that she has a home, to-wit: the Home Stead Property at issue in
this case, and is domiciled in Maryland, this Court must hold her claims relied upon Diversity
Jurisdiction to be unfounded and dismiss the same on this basis alone. Because both parties to this
suit, evidenced by the Plaintiff's own admissions set forth in her Complaint, are citizens of the
State of Maryland, there exist no facts sufficient to enable this Court to maintain jurisdiction of

this case, and must dismiss the same for lack of Subject Matter Jurisdiction.
PLANITFF’S SALE IN LIEU OF PARTITION CLAIM IS FRIVOLOUS

Maryland Law provides that when the relief sought is a sale in lieu of partition, “the court
shall order a sale only if it determines that the property cannot be divided without loss or injury to
the parties interested.” MD R PROP ACT Rule 12-401. The term Shall does not allow discretion.
Plaintiff has presented no evidence whatsoever that the Home Stead Property cannot be divided
without Joss or injuries to either party. The Parties here, after jointly petitioning the County to
divide the property, were granted a density-variance to sub-divide the property whereby Plaintiff
can get the half she desires, and J can remain in my home, the Court cannot find that the property
cannot be divided without loss of injury to the parties in this case. The Plaintiff has actively
participated in the sub-division process and the lot will be marketable by early summer, Then, this

Court must dismiss Plaintiff's Sale in Lieu of Partition claims according to the statute. Jd.

Plaintiff has alleged no facts sufficient that can rationally be held to provide me with
reasonable notice as to the dates and or years that this alleged “renting of the apartment” occurred
for which she claims that she has not been compensated, and therefore I am not reasonably able to
prepare a defense to this allegation. Plaintiff must allege some date and year to enable me to
determine when she claims the profits at issue were generated. I assert that these claims are void
for vagueness on their face, and are equally barred by the applicable statutes of limitations along

with the doctrines of both res judicata as well as collateral estoppel.
CONCLUSION

The causes of action relied upon the Plaintiff all surround facts that allegedly took place in
the 1990s, or for which a material condition-precedent has not yet taken place, caused by her.
Plaintiff does not bring this suit with clean hands, and her claims are all barred by the applicable
statutes of limitations or are barred by the doctrines of collateral estopple of res judicata.
Consequently, the Plaintiff lacks standing to prosecute these claims in this court, which, pursuant
Art. 3 of the National Constitution, deprives this Court of Subject Matter Jurisdiction, and for these
reasons asserted herein, 1 ask this Court to enter an Order granting my Motion to Dismiss pursuant
Fed.R.Civ.P 12, on the grounds asserted and raised herein, or ask that this Court will allow and
provide an oral hearing on the same prior to any adverse ruling to avoid the miscarriage of justice
that will otherwise result.

Respectfully Submitted,

  
 

id

 

Mr, Caldwetl MtMillan, Jr.
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Annapolis, MD 21401
(410) 570-7847

donshajid/@email.com

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CERTIFICATE OF SERVICE
I, the undersigned hereby certify that on that 20" day of March, 2019, that a true a copy of

foregoing instrument was placed in the United States Mail, with Postage Pre-Paid, addressed to

the Clerk of this Court and: —

Andrew G. Balashov, Esq.
Suvita Chiman Melehy, Esq.
Melehy And Associates LLC

8403 Colesville Rd #610

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